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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

DRM VECTORS, LLC,
                      Plaintiff,
       v.                                        CIVIL ACTION NO.

ORACLE CORPORATION,                              JURY TRIAL DEMANDED

                      Defendant.


                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff DRM Vectors, LLC (“Plaintiff”), by and through its undersigned counsel, files

this Original Complaint against Defendant Oracle Corporation (“Defendant”) as follows:

                                   NATURE OF THE ACTION

       1.     This is a patent infringement action to stop Defendant’s infringement of United

States Patent No. 9,305,143 (“the ‘143 patent”) entitled “Broadcasting of Electronic Documents

Preserving Copyright and Permitting Private Copying”. A true and correct copy of the ‘143

patent is attached hereto as Exhibit A. Plaintiff is the owner by assignment of the ‘143 patent.

Plaintiff seeks monetary damages and injunctive relief.

                                           PARTIES

       2.     Plaintiff is a limited liability company having a principal place of business located

at 717 North Union St. Wilmington, DE 19805.

       3.     Upon information and belief, Defendant is a corporation organized and existing

under the laws of the State of Delaware with a principal place of business located at 500 Oracle

Parkway, Redwood Shores, California 94065. Defendant can be served with process by serving

the Corporation Service Company, 251 Little Falls Dr. Wilmington, Delaware 19808.




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                                JURISDICTION AND VENUE

        4.     This action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et

seq., including 35 U.S.C. §§ 271, 281, 283, 284, and 285.

        5.     This Court has subject matter jurisdiction over this case for patent infringement

under 28 U.S.C. §§ 1331 and 1338(a).

        6.     The Court has personal jurisdiction over Defendant because Defendant is present

within or has minimum contacts within the State of Delaware and the District of Delaware;

Defendant has purposefully availed itself of the privileges of conducting business in the State of

Delaware and in the District of Delaware; Defendant has sought protection and benefit from the

laws of the State of Delaware; Defendant regularly conducts business within the State of

Delaware and within the District of Delaware; and Plaintiff’s cause of action arises directly from

Defendant’s business contacts and other activities in the State of Delaware and in the District of

Delaware. Further, this Court has personal jurisdiction over Defendant because it is incorporated

in Delaware and has purposely availed itself of the privileges and benefits of the laws of the

State of Delaware.

        7.     More specifically, Defendant, directly and/or through intermediaries, ships,

distributes, uses, provides, offers for sale, sells, and/or advertises products and services in the

United States, the State of Delaware, and the District of Delaware including but not limited to the

Accused Instrumentalities as detailed below. Upon information and belief, Defendant has

committed patent infringement in the State of Delaware and in the District of Delaware.

Defendant solicits and has solicited customers in the State of Delaware and in the District of

Delaware. Defendant has paying customers who are residents of the State of Delaware and the




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District of Delaware and who each use and have used the Defendant’s products and services in

the State of Delaware and in the District of Delaware.

        8.      Venue is proper in the District of Delaware pursuant to 28 U.S.C. §§ 1400(b). On

information and belief, Defendant is incorporated in this district, or has a regular and established

business presence in this district and has transacted business in this district, and has directly

and/or indirectly committed acts of patent infringement in this district.

                            COUNT I – PATENT INFRINGEMENT

        9.      Plaintiff refers to and incorporates herein the allegations of Paragraphs 1-8 above.

        10.     The ‘143 patent was duly and legally issued by the United States Patent and

Trademark Office on April 5, 2016 after full and fair examination. Plaintiff is the owner by

assignment of the ‘143 patent and possesses all rights of recovery under the ‘143 patent,

including the exclusive right to sue for infringement and recover past damages and obtain

injunctive relief.

        11.     Defendant owns, uses, operates, advertises, controls, sells, and otherwise provides

systems, methods and apparatus that infringe the ‘143 patent. The ‘143 patent provides, among

other things, “a method of broadcasting electronic documents allowing the protection of

copyright and private copying including a network accessible control server taking customer

orders, network accessible delivery and control servers, and equipment supporting a display for

consulting the document.”

        Defendant has been and is now infringing the ‘143 patent in the State of Delaware, in this

judicial district, and elsewhere in the United States, by, among other things, directly or through

intermediaries, making, using, importing, testing, providing, supplying, distributing, selling,

and/or offering for sale, methods (including, without limitation, the Defendant’s products




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including Oracle Information Rights Management platform, content and its copyright protection

functionality identified herein as the “Accused Instrumentality”) that provide methods for

accessing an order server containing models of documents to distribute, an item database, a

customer database with the emails of customers, an order database containing references of the

works ordered, and digital rights associated with the works ordered, said digital rights

comprising controlled consultation rights as constraints, and permanently acquired digital rights,

the order server configured for handling an order received from the customer on the network

accessing a delivery server via the network, the delivery server configured for generating a

specific copy of a document ordered by a customer from the model of the document ordered, the

order server sending order information to the delivery server, the order information comprising,

at least the reference to the work, customer contact information, the controllable consultation

rights,and other digital rights ordered, the delivery server creating a delivery record of the work

ordered containing the unique identifier to control the said work ordered, the order server

responding to the customer's order by sending the customer a URL link towards the delivery

server, the URL link comprising, as a parameter, at least the unique identifier of the copy

ordered; responsive to an activation of the URL link by the customer, the delivery server

generating a specific copy of the work ordered, by a library used for creation of documents on

the fly containing the unique identifier, a supervision agent for the document, and the other

permanently acquired digital rights relating to the document, the supervision agent designed to

verify the controlled digital rights of each copy of the ordered work; accessing a control server

via the network, the control server configured to verify digital rights acquired by the customer

using the unique identifier of the ordered document copy; when delivering the ordered document

copy to the customer, the delivery server sending to the control server the controlled information




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containing at least the unique identifier of the ordered document copy and the set of digital rights

controlled; and operating a customer computing device, supporting a viewer, to allow the

customer, via the viewer, to consult the ordered document, previously downloaded from the

delivery server, said viewer designed to allow the customer to consult the ordered document; and

a verification step comprising the sub-steps of when opening the specific copy on the customer

computing device, the supervision agent of the specific copy causing the customer computing

device to connect to the control server, and the supervision agent of the specific copy sending a

query containing at least the unique identifier of the specific copy, in response to receiving the

query, the control server returning a response comprised of one of i) an authorization to consult

the specific copy, and ii) a consultation refusal, according to the specific copy's controlled digital

rights as stored by the control server, and when the customer computing device receives the

response from the control server, the supervision agent of the specific copy allowing the

consultation of the specific copy when the response comprises the authorization to consult the

specific copy and prohibiting the consultation of the specific copy when the response comprises

the consultation refusal covered by at least claim 1 of the ‘143 patent to the injury of DRM

Vectors, LLC. Defendant is directly infringing, literally infringing, and/or infringing the ‘143

patent under the doctrine of equivalents. Defendant is thus liable for infringement of the ‘143

patent pursuant to 35 U.S.C. § 271.

       15.     Defendant has induced and continues to induce infringement of the ‘143 patent by

 intending that others use, offer for sale, or sell in the United States, products and/or methods

 covered by one or more claims of the ‘143 patent, including, but not limited to, methods, and

 products comprising methods that broadcast electronic documents which preserve copyrights

 and premite private copying that infringe one or more claims of the ‘143 patent.




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      16.    Defendant indirectly infringes the ‘143 patent by inducing infringement by others,

such as resellers, customers and end-use consumers, in accordance with 35 U.S.C. § 271(b) in

this District and elsewhere in the United States. Direct infringement is a result of the activities

performed by the resellers, customers and end-use consumers of the broadcasting of electronic

documents which preserve copyrights and permit private copying, including methods, and

products comprising methods for broadcasting electronic documents which preserve copyrights

and permit private copying.

      17.    Defendant received notice of the ‘143 patent at least as of the date this lawsuit

was filed.

      18.    Defendant’s affirmative acts of providing and/or selling the methods, and

products comprising methods for broadcasting electronic documents which preserve copyrights

and permit private copying, including manufacturing and distributing, and providing

instructions for using the methods, and products comprising methods for broadcasting

electronic documents which preserve copyrights and permit private copying in their normal and

customary way to infringe one or more claims of the ‘143 patent. Defendant performs the acts

that constitute induced infringement, and induce actual infringement, with the knowledge of the

‘143 patent and with the knowledge or willful blindness that the induced acts constitute

infringement.

      19.    Defendant specifically intends for others, such as resellers, customers and end-use

consumers, to directly infringe one or more claims of the ‘143 patent, or, alternatively, has been

willfully blind to the possibility that its inducing acts would cause infringement. By way of

example, and not as limitation, Defendant induces such infringement by its affirmative action

by, among other things: (a) providing advertising on the benefits of using the Accused




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Instrumentalities’ functionality; (b) providing information regarding how to use the Accused

Instrumentalities’ functionality; (c) providing instruction on how to use the Accused

Instrumentalities’ functionality; and (d) providing hardware and/or software components

required to infringe the claims of the ‘143 patent.

      20.    Accordingly, a reasonable inference is that Defendant specifically intends for

others, such as resellers, customers and end-use consumers, to directly infringe one or more

claims of the ‘143 patent in the United States because Defendant has knowledge of the ‘143

patent at least as of the date this lawsuit was filed and Defendant actually induces others, such

as resellers, customers and end-use consumers, to directly infringe the ‘143 patent by using,

selling, and/or distributing, within the United States, methods, and products comprising

methods for broadcasting electronic documents which preserve copyrights and permit private

copying.

      21.    As a result of Defendant’s acts of infringement, Plaintiff has suffered and will

continue to suffer damages in an amount to be proved at trial.

      22.    Defendant continues advising, encouraging, or otherwise inducing others to use

the methods, and products comprising the methods claimed by the ‘143 patent to the injury of

Plaintiff. Since at least the filing date of the Original Complaint, Defendant has had knowledge

of the ‘143 patent, and by continuing the actions described above, has specific intent to induce

infringement of the ‘143 patent pursuant to 35 U.S.C. § 271(b), and has further contributed to

said infringement of the ‘143 patent by their customers by providing them with the Accused

Instrumentalities so that their customers could directly infringe the ‘143 patent.

      23.    Claim 1 of the ‘143 patent, claims:




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      24.    An electronic document creation method protecting copyrights and allowing

private copying, comprising the steps of:

      accessing an order server containing models of documents
          to distribute, an item database, a customer database with the emails of customers, an
          order database containing references of the works ordered, and digital rights
          associated with the works ordered, said digital rights comprising controlled
          consultation rights as constraints, and permanently acquired digital rights, the order
          server configured for handling an order received from the customer on the network;
      accessing a delivery server via the network, the delivery server configured for generating
          a specific copy of a document ordered by a customer from the model of the document
          ordered, the order server sending order information to the delivery server, the order
          information comprising, at least the reference to the work, customer contact
          information, the controllable consultation rights,and other digital rights ordered;
      the delivery server creating a delivery record of the work ordered containing the unique
          identifier to control the said work ordered;
      the order server responding to the customer's order by sending the customer a URL link
          towards the delivery server, the URL link comprising, as a parameter, at least the
          unique identifier of the copy ordered;
      responsive to an activation of the URL link by the customer, the delivery server
          generating a specific copy of the work ordered, by a library used for creation of
          documents on the fly containing the unique identifier, a supervision agent for the
          document, and the other permanently acquired digital rights relating to the document,
          the supervision agent designed to verify the controlled digital rights of each copy of
          the ordered work;
      accessing a control server via the network, the control server configured to verify digital
          rights acquired by the customer using the unique identifier of the ordered document
          copy;
      when delivering the ordered document copy to the customer, the delivery server sending
          to the control server the controlled information containing at least the unique
          identifier of the ordered document copy and the set of digital rights controlled; and
      operating a customer computing device, supporting a viewer, to allow the customer, via
          the viewer, to consult the ordered document, previously downloaded from the
          delivery server, said viewer designed to allow the customer to consult the ordered
          document; and
      a verification step comprising the sub-steps of
      when opening the specific copy on the customer computing device, the supervision agent
          of the specific copy causing the customer computing device to connect to the control
          server, and the supervision agent of the specific copy sending a query containing at
          least the unique identifier of the specific copy;
      in response to receiving the query, the control server returning a response comprised of
          one of i) an authorization to consult the specific copy, and ii) a consultation refusal,
          according to the specific copy's controlled digital rights as stored by the control
          server, and




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       when the customer computing device receives the response from the control server, the
          supervision agent of the specific copy allowing the consultation of the specific copy
          when the response comprises the authorization to consult the specific copy and
          prohibiting the consultation of the specific copy when the response comprises the
          consultation refusal.

       25.    An electronic document creation method protecting copyrights and allowing
 private copying, comprising the steps of:




accessing an order server containing models of documents to distribute, an item database, a
customer database with the emails of customers, an order database containing references of the
works ordered, and digital rights associated with the works ordered, said digital rights
comprising
controlled consultation rights as constraints, and permanently acquired digital rights, the order
server configured for handling an order received from the customer on the network;



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accessing a delivery server via the network, the delivery server configured for generating a
specific copy of a document ordered by a customer from the model of the document ordered, the
order server sending order information to the delivery server, the order information comprising,
at least the reference to the work, customer contact information, the controllable consultation
rights,and other digital rights ordered;




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the delivery server creating a delivery record of the work ordered containing the unique identifier
to control the said work ordered;




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the order server responding to the customer's order by sending the customer a URL link towards
the delivery server, the URL link comprising, as a parameter, at least the unique identifier of the
copy ordered;




responsive to an activation of the URL link by the customer, the delivery server generating a
specific copy of the work ordered, by a library used for creation of documents on the fly
containing the unique identifier, a supervision agent for the document, and the other permanently
acquired digital rights relating to the document, the supervision agent designed to verify the
controlled digital rights of each copy of the ordered work;




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accessing a control server via the network, the control server configured to verify digital rights
acquired by the customer using the unique identifier of the ordered document copy;




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when delivering the ordered document copy to the customer, the delivery server sending to the
control server the controlled information containing at least the unique identifier of the ordered
document copy and the set of digital rights controlled; and




operating a customer computing device, supporting a viewer, to allow the customer, via the
viewer, to consult the ordered document, previously downloaded from the delivery server, said
viewer designed to allow the customer to consult the ordered document; and




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a verification step comprising the sub-steps of when opening the specific copy on the customer
computing device, the supervision agent of the specific copy causing the customer computing
device to connect to the control server, and the supervision agent of the specific copy sending a
query containing at least the unique identifier of the specific copy;




in response to receiving the query, the control server returning a response comprised of one of i)
an authorization to consult the specific copy, and ii) a consultation refusal, according to the
specific copy's controlled digital rights as stored by the control server, and




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when the customer computing device receives the response from the control server, the
supervision agent of the specific copy allowing the consultation of the specific copy when the
response comprises the authorization to consult the specific copy and prohibiting the consultation
of the specific copy when the response comprises the consultation refusal.




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       26.       Defendant’s aforesaid activities have been without authority and/or license from

 Plaintiff.

       27.       To the extent any marking was required by 35 U.S.C. § 287, Plaintiff and all

predecessors in interest to the ‘143 patent complied with all marking requirements under 35

U.S.C. § 287.

       28.       Plaintiff is entitled to recover from Defendant the damages sustained by Plaintiff

as a result of the Defendant’s wrongful acts in an amount subject to proof at trial, which, by law,

cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court

under 35 U.S.C. § 284.

                                          JURY DEMAND

                 Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

                                      PRAYER FOR RELIEF

                 Plaintiff respectfully requests that the Court find in its favor and against the
Defendant, and that the Court grant Plaintiff the following relief:

              A. a judgment that Defendant directly and/or indirectly infringes one or more
                 claims of the ‘143 patent;


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          B. award Plaintiff damages in an amount adequate to compensate Plaintiff for
             Defendant’s infringing products’ infringement of the claims of the ‘143 patent,
             but in no event less than a reasonable royalty, and supplemental damages for any
             continuing post-verdict infringement until entry of the final judgment with an
             accounting as needed, under 35 U.S.C. § 284;

          C. award Plaintiff pre-judgment interest and post-judgment interest on the damages
             awarded, including pre-judgment interest, pursuant to 35 U.S.C. § 284, from the
             date of each act of infringement of the ‘143 patent by Defendant to the day a
             damages judgment is entered, and an award of post-judgment interest, pursuant to
             28 U.S.C. § 1961, continuing until such judgment is paid, at the maximum rate
             allowed by law; and an accounting of all damages not presented at trial;

          D. a judgment and order finding this to be an exceptional case and requiring
             defendant to pay the costs of this action (including all disbursements) and
             attorneys’ fees, pursuant to 35 U.S.C. § 285;

          E. award a compulsory future royalty for the ‘143 patent; and award such further
             relief as the Courts deems just and proper.

Dated: April 9, 2019               STAMOULIS & WEINBLATT LLC
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